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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 DOMINIQUE WATSON,

                         Plaintiff,
                                                    Civil Action No. 23-1670 (BAH)
                         v.
                                                    Judge Beryl A. Howell
 DISTRICT OF COLUMBIA et al.,

                         Defendants.

                                             ORDER

          Upon consideration of defendants’ Partial Motion to Dismiss, ECF No. 20, and the

related legal memoranda in support and in opposition, for the reasons set forth in the

accompanying Memorandum Opinion, it is hereby—

          ORDERED that defendants’ Partial Motion to Dismiss, ECF No. 20, is GRANTED IN

PART AND DENIED IN PART; it is further

          ORDERED that plaintiff’s claims against Director Thomas Faust, alleging, pursuant to

42 U.S.C. § 1983, deliberate indifference in failure to train, in violation of the Fifth Amendment,

in Count I; failure to accommodate, in violation of the Americans with Disabilities Act (“ADA”),

42 U.S.C. § 12101 et seq., in Count II; failure to accommodate, in violation of the Rehabilitation

Act, 29 U.S.C. § 701 et seq., in Count III; common law negligence, in Count IV; and wrongful

death, in violation of D.C.’s Wrongful Death Statute, D.C. Code § 16-2701 et seq., in Count V,

are DISMISSED; it is further

          ORDERED that defendant Director Thomas Faust is terminated from this matter; it is

further

          ORDERED that defendants’ Partial Motion to Dismiss the claims against the District of

Columbia, alleging, pursuant to 42 U.S.C. § 1983, deliberate indifference in failure to train, in

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violation of the Fifth Amendment, in Count I; and failure to accommodate, in violation of the

ADA and the Rehabilitation Act, in Counts II and III, respectively, is DENIED; it is further

       ORDERED that plaintiff’s claims against “Officer Akaie” are DISMISSED

WITHOUT PREJUDICE, pursuant to Federal Rule of Civil Procedure 4(m); it is further

       ORDERED that defendant “Officer Akaie” is terminated from this matter; it is further

       ORDERED that the parties shall file, by August 2, 2024, a Joint Meet and Confer Report

as required by paragraph 4(a) of the Court’s Standing Order, ECF No. 4, proposing a schedule for

further proceedings to address plaintiff’s remaining claims against the District of Columbia, for,

pursuant to 42 U.S.C. § 1983, deliberate indifference in failure to train, in violation of the Fifth

Amendment, in Count I; failure to accommodate, in violation of the ADA and the Rehabilitation

Act, in Counts II and III, respectively; common law negligence, in Count IV; and wrongful death,

in violation of D.C.’s Wrongful Death Statute, in Count V; and it is further

       ORDERED that the parties’ Joint Meet and Confer Report shall also address the claims in

the Third-Party Complaint, ECF No. 46 brought by the District of Columbia against Unity

Healthcare, Inc.

       SO ORDERED.

       Date: July 19, 2024



                                                     __________________________
                                                     BERYL A. HOWELL
                                                     United States District Judge




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